443 F.2d 25
    Mabel D. GARDNER, Plaintiff-Appellant,v.J.M. and Mary CRAIN, Defendants-Appellees.No. 30487 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409.
    United States Court of Appeals, Fifth Circuit.
    May 19, 1971, Rehearing Denied June 10, 1971.
    
      Mabel D. Gardner, pro se.
      Homer A. Houchins, Jr., Smith, Cohen, Ringel, Kohler, Martin &amp; Lowe, Atlanta, Ga., for defendants-appellees.
      Appeal from the United States District Court for the Northern District of Georgia; Albert J. Henderson, Jr., District Judge.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    